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17
                             UNITED STATES DISTRICT COURT
18                          NORTHERN DISTRICT OF CALIFORNIA
                                SAN FRANCISCO DIVISION
19

20   CODY MEEK, et al.                       Case No. 17-cv-01012-JD
21                    Plaintiffs,            PLAINTIFFS’ REPLY IN SUPPORT OF
                                             RENEWED MOTION FOR PRELIMINARY
22          v.                               APPROVAL OF PROPOSED SETTLEMENT
23   SKYWEST, INC. and SKYWEST               Judge:        Hon. James Donato
     AIRLINES, INC.,                         Courtroom:    11, 19th Floor
24                                           Date:         June 30, 2022
                              Defendants.    Time:         10:00 a.m.
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                                                                       Case No. 17-cv-01012-JD
        PLTFS’ REPLY ISO RENEWED MOTION FOR PRELIMINARY APPROVAL OF PROPOSED SETTLEMENT
        Case 3:17-cv-01012-JD Document 195 Filed 06/13/22 Page 2 of 3



 1          Given that there is no opposition to Plaintiffs’ Renewed Motion for Preliminary Approval

 2   of the Proposed Settlement, Plaintiffs respectfully request that the Court grant Preliminary

 3   Approval and approve the revised notice plan.

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                                                     Respectfully submitted,
 6
      DATED: June 13, 2022                           KAPLAN FOX & KILSHEIMER LLP
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                                                     By: /s/ Matthew B. George
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         PLTFS’ REPLY ISO RENEWED MOTION FOR PRELIMINARY APPROVAL OF PROPOSED SETTLEMENT
     Case 3:17-cv-01012-JD Document 195 Filed 06/13/22 Page 3 of 3



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      PLTFS’ REPLY ISO RENEWED MOTION FOR PRELIMINARY APPROVAL OF PROPOSED SETTLEMENT
